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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MARYLAND
                                NORTHERN DIVISION

 IN THE MATTER OF THE PETITION

             of

 GRACE OCEAN PRIVATE LIMITED, as
 Owner of the M/V DALI,                             Docket No. 1:24-CV-00941 JKB

             and
                                                                  IN ADMIRALTY
 SYNERGY MARINE PTE LTD, as Manager
 of the M/V DALI,

 for Exoneration from or Limitation of Liability.


                                             ORDER

       Upon consideration of the Motion for Extension of Time for Cargo Interests to File

Claims in this Proceeding, and the supporting declaration and exhibits thereto,

       It is hereby ORDERED and DECREED that:

       1.      The deadline for the Cargo Interests to file claims in this proceeding is hereby

extended to January 24, 2025; and

       2.      The extension of the deadline for the Cargo Interests to file claims shall not delay

discovery between the Petitioners and parties who have filed claims in this proceeding or third-

party discovery.



______________________                               ____________________________________
Date                                                 James K. Bredar
                                                     United States District Judge
